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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

BOND PHARMACY, INC., d/b/a AIS )
HEALTHCARE,

Plaintiff,

Vv. Civil Case No. 1:22-cv-1343
ANTHEM HEALTH PLANS OF VIRGINIA,
INC., d/b/a ANTHEM BLUE CROSS
AND BLUE SHIELD,

Defendant.

ORDER

THIS MATTER comes before the Court on the parties’ Joint
Motion for Extension of Deadlines. It is hereby

ORDERED that the Joint Motion for Extension of Deadlines is
GRANTED. It is further ORDERED that the Final Pretrial Conference
is continued to Thursday, November 16, 2023 at 10:00 a.m. and the

remaining deadlines shall be amended to:

September 12, 2023 Close of fact discovery

September 22, 2023 Deadline for expert
disclosures for the party with
the burden of proof

October 6, 2023 Deadline for expert
disclosures for responsive
experts
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October 20,

September 1,

November 15,

November 22,

November 29,

December 1,

Alexandria, Virginia
July /7 , 2023

2023

2023

2023

2023

2023

2023

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Deadline for rebuttal expert
disclosures for the party with
the burden of proof Case

Deposition notices deadline
Close of expert discovery

Deadline for filing list of
witnesses to be called at
trial, written stipulation of
uncontested facts, and copies
of trial exhibits

Objections to opposing party's
witness and exhibit lists
deadline

Summary judgment motion
deadline

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CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

